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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

     TAVARES DOCHER, by and through                                        CASE NO.: 2:16cv14413
     JANICE DOCHER-NEELEY, his mother
     and legal guardian,

                    Plaintiffs,

     vs.

     CHRISTOPHER NEWMAN, individually,
     CLAYLAN MANGRUM, individually,
     CALVIN ROBINSON, individually, WADE
     COURTEMANCHE, individually, KEN J.
     MASCARA, as SHERIFF of ST. LUCIE
     COUNTY, Florida, JOSE ROSARIO,
     individually, and the ST. LUCIE COUNTY
     FIRE DISTRICT, an independent special
     district,

                 Defendants.
     ________________________________________/

       REPLY MEMORANDUM IN SUPPORT OF DEFENDANT COURTEMANCHE’S
                 MOTION FOR SUMMARY JUDGMENT [DE83]

            The Defendant, WADE COURTEMANCHE, in his individual capacity, files this his

     Reply Memorandum in support of his Motion for Summary Judgment [DE 83], and would state

     as follows:

       Plaintiff had no entitlement to exercise First Amendment rights on private property.

            It is important to keep in mind what right is allegedly at issue in this claim: Plaintiff’s

     First Amendment’s “right to be heard.” Plaintiff, in his response, wholly fails to address

     Defendant’s argument that the Eleventh Circuit’s ruling in Amnesty International, USA v. Battle,


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     559 F.3d 1170 (11th Cir. 2009) is limited to public property. Instead, Plaintiff begins his response

     by highlighting the importance of the First Amendment “as an indispensable means of preserving

     other individual liberties.” The importance of the First Amendment as a guarantor of individual

     liberties is not disputed and is not the issue in this case. Rather the relevant question in this

     litigation is whether the Plaintiff was entitled to exercise his First Amendment right to be heard

     on property which Plaintiff concedes was private. Plaintiff further confuses the issue by

     asserting that the Supreme Court’s holding in Lloyd Corp., Limited v. Tanner, 92 S.Ct. 2219

     (1972) is limited to factual scenarios where the owner of private property attempts to restrict a

     person’s First Amendment rights. Plaintiff’s suggestion that the Supreme Court held in Lloyd

     that, “[b]ecause Lloyd’s privately owned and operated shopping center had not been dedicated

     to public use, Lloyd could lawfully exclude the protestors without violating their first amendment

     rights” is simply not accurate. Despite Plaintiff’s assertion, the Supreme Court’s ruling in Lloyd

     did not turn on the status of the parties, but rather the status of the place where the Plaintiffs

     sought to assert their First Amendment rights. As the Supreme Court expressly held, there is no

     entitlement to exercise First Amendment rights on private property unless that property has been

     dedicated to public use. Id. at 2229. That is why it was relied on in Defendant’s Motion for

     Summary Judgment. See also Ortiz v. Browne, 3:08-CV-1522(PCD), 2009 WL 952098 (D.Conn.

     Apr. 7, 2009) (dismissing First Amendment right to assemble and associate claim brought

     against a law enforcement officer where the alleged violation of a citizen’s right to assemble

     occurred inside a Starbucks).

              Plaintiff cannot assert a claim based on the legal rights of a third party.

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             Perhaps recognizing the weakness of his First Amendment claim against Defendant

     Courtemance, Plaintiff devotes a significant portion of his response describing the actions

     Defendant Courtemanche allegedly took against Shaun Mahoney, a third party. While it is

     debatable whether Defendant Courtemanche violated Shaun Mahoney’s constitutional rights

     even assuming the allegations as true, see Smith v. City of Cumming, 212 F.3d 1332, 1333 (11th

     Cir. 2000) (holding that the right to photograph or video police conduct is not absolute and is

     subject to reasonable time, manner and place restrictions), a party “generally must assert his own

     legal rights and interests, and cannot rest his claim to relief on the legal rights or interests of third

     parties.” Warth v. Seldin, 422 U.S. 490, 499 (1975). The interaction between Defendant

     Courtemanche and Mahoney does not provide a remedy to the Plaintiff here.

             Further, although the law was clearly established that citizens have a right to photograph

     or video police conduct subject to reasonable time, manner and place restrictions (restrictions

     that have not been clearly defined), it is not clearly established that citizens have a right to be

     filmed during police encounters. Thus Plaintiff’s allegations regarding Defendant

     Courtemanche’s actions towards Shaun Mahoney are completely irrelevant to Plaintiff’s claim

     against Defendant Courtemanche.

               Plaintiff’s First Amendment Retaliation Claim fails as a matter of law.

             Plaintiff, in a throwaway sentence in his response, declares that “[b]ecause

     Courtemanche’s actions ‘would likely deter...person[s] of ordinary firmness from exercising

     [their] First Amendment rights,’ Courtemanche violated clearly established law” citing to

     Bennett v. Hendrix, 423 F.3d 1247, 1252 (11th Cir. 2005). (See DE 129 at p. 34). It is not entirely

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     clear which of Defendant Courtemanche’s actions Plaintiff is referring to although the sentences

     immediately preceding this sentence allege that Defendant Courtemanche directed Shaun

     Mahoney to leave a private business and subsequently placed Mahoney in handcuffs. (See Id.).

     To provide the Court with some context regarding that assertion, Mahoney was placed in

     handcuffs after the Plaintiff was transported to the hospital, the scene had calmed down

     considerably, and Mahoney refused to volunteer his cell phone which was deemed to have

     evidentiary value. (DE 137-3, 10:20-11:6).

            Putting aside the conclusory nature of Plaintiff’s assertion that Courtemanche’s actions

     would likely deter a person of ordinary firmness from exercising his/her First Amendment rights

     without any record evidence to support such an inference, Plaintiff fails to address the other

     elements of a First Amendment retaliation claim. To state a First Amendment retaliation claim

     a Plaintiff must establish: (1) that his speech or act was constitutionally protected; (2) that the

     defendant’s retaliatory conduct adversely affected the protected speech; and (3) that there is a

     causal connection between the retaliatory actions and the adverse affect on the speech. Douglas

     v. Yates, 535 F.3d 1316, 1321 (11th Cir. 2008). The question of whether a defendant’s actions

     would likely deter persons of ordinary firmness from exercising their First Amendment rights

     relates only to the second prong of a First Amendment retaliation claim. See Bennett v. Hendrix,

     423 F.3d 1247, 1250 (11th Cir. 2005) (“The only prong at issue here is the second”).

            As to the first element, the right at issue here is the Plaintiff’s alleged right to be heard.

     As argued above, Plaintiff had no entitlement to exercise his First Amendment rights on private

     property. See Ortiz, supra.

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            Finally, to the extent Plaintiff’s First Amendment claim is based on the theory that

     Defendant Courtemanche was motivated by a desire to retaliate against the Plaintiff rather than

     to control the scene of a highly fluid situation, Defendant Courtemanche is entitled to qualified

     immunity. In “mixed-motive” cases, defendants are entitled to qualified immunity if the record

     evidence demonstrates that the defendant’s actions were motivated, at least in part, by lawful

     considerations. Foy v. Holston, 94 F.3d 1528 (11th Cir. 1996); see also Johnson v. City of Fort

     Lauderdale, 126 F.3d 1372, 1379 (11th Cir. 1997) (applying Foy to a case involving “mixed

     motives” and noting that Foy “rested primarily on the existence of an indisputable and adequate

     lawful motive”). Here the record evidence shows that Defendant Courtemanche’s actions were

     motivated, at least in part, to ensure that members of the public maintained a safe distance from

     the deputies who were engaged in a tense and fluid altercation with the Plaintiff. As such, “no

     jury could find that a reasonable [deputy] would never have done the things [Defendant

     Courtemanche] did but for an [evil] intent.” Johnson 126 F.3d at 1379. Thus Defendant

     Courtemanche is, at a minimum, entitled to qualified immunity.

                                            CONCLUSION

            For the reasons outlined here and in Defendant Courtemanche’s Motion for Summary

     Judgment [DE 83], Defendant Courtemanche respectfully requests summary judgment be

     granted in his favor.




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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the
     Court using the CM/ECF and furnished via email a copy to: ADAM S. HECHT, ESQUIRE,
     Searcy Denney Scarola Barnhart & Shipley, P.A., 2139 Palm Beach Lakes Boulevard, West
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     hlklaw@hughkoerner.com, and BENJAMIN W. NEWMAN, ESQUIRE, Wilson Elser
     Moskowitz Edelman & Dicker, LLP, 111 N. Orange Ave., Suite 1200, Orlando, FL 32801,
     ben.newman@wilsonelser.com; julie.tyk@wilsonelser.com this 2nd day of November,
     2017.

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